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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


EMMANUEL CORNET, JUSTINE DE
CAIRES, GRAE KINDEL, ALEXIS
CAMACHO, JESSICA PAN, EMILY KIM,
MIGUEL BARRETO, and BRETT MENZIES
FOLKINS, on behalf of themselves and all
others similarly situated,
                                                   C.A. No. 23-cv-441-CFC
                          Plaintiffs,

               v.

TWITTER, INC.

                          Defendant.



 STIPULATION AND [PROPOSED] ORDER REGARDING TEMPORARY STAY AND
        DEFERRAL OF RULING ON TWITTER’S MOTION TO DISMISS
                   AND STRIKE CLASS ALLEGATIONS
         Plaintiffs Emily Kim, Miguel Barreto, and Brett Menzies Folkins (“Plaintiffs”) and

Defendant X Corp., on its own behalf and as successor in interest to Defendant Twitter, Inc.

(hereinafter “Defendant”) (Plaintiffs and Defendant shall collectively be referred to as the

“Parties”), by and through their undersigned counsel, hereby stipulate as follows:

         WHEREAS, on August 24, 2023, the Court in the matter entitled Eitan Adler v. Twitter,

Inc. and X Corp., Case No. 3:23-cv-01788-JD (N.D. Cal.) ordered the parties to mediate the

plaintiff’s claims, and the parties have scheduled such mediation to take place on December 1–2,

2023;

         WHEREAS, counsel for the Parties have conferred and agreed that the interests of

preserving judicial economy and the Parties’ collective time and resources would be best served

by including the pending Action within the scope of mediation ordered by the federal court in

Adler.

         WHEREAS, in service of judicial economy counsel for the Parties have conferred and
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agreed to request a temporary stay of this Action, including all currently pending deadlines,

briefing schedules, court conferences, motion hearings and Court decisions through January 2,

2024, given mediation that will occur in December;

        WHEREAS, the Parties have conferred and specifically request that the Court defer

ruling on Defendant’s pending Motion to Dismiss the Second Amended Complaint until January

2, 2024 or later.

        NOW, THEREFORE, the Parties stipulate to the following, subject to the Court’s

approval:
        1.      This Action shall be stayed through January 2, 2024;

        2.      All pending pre-trial and discovery-related deadlines shall be continued to dates

after January 2, 2024;

        3.      The Court shall defer ruling on Defendant’s pending Motion to Dismiss the

Second Amended Complaint until a date on or after January 2, 2024; and

        4.      The Parties shall report to the Court the status of settlement discussions by

January 2, 2024, and indicate their position as to whether the stay should be continued or lifted.



Dated: September 18, 2023

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                                            Attorneys for Defendant




              IT IS SO ORDERED this _____ day of ____________________, 2023.



                                                       The Honorable Colm F. Connolly
